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SO ORDERED.

SIGNED this 13th day of July, 2020.




                    UNITED STATES BANKRUPTCY COURT
               FOR THE MIDDLE DISTRICT OF NORTH CAROLINA
                            DURHAM DIVISION

   IN RE:                              )
                                       )
   Lent C. Carr, II and                )         Case No. 18-80386
   Deltarina V. Carr,                  )         Chapter 13
         Debtors.                      )
   ____________________________________)


                                   ORDER
         DENYING MOTION FOR SANCTIONS FOR VIOLATION OF AUTOMATIC STAY

         THIS MATTER initially came before the Court on Lent and Deltarina Carr’s
   (the “Debtors”) motion to issue a show cause order and award sanctions against
   Jannetta Jordan for violation of the automatic stay (Docket No. 100, the “Sanctions
   Motion”). The Court assumes the reader’s familiarity with the procedural history of
   this Sanctions Motion, but in short, the Debtors requested the Court (1) enter an
   order directing Jordan to show cause as to why she should not be found in contempt
   of a court order dated November 19, 2020 (the “Enforce Stay Order”), and (2) award
   appropriate damages and sanctions for the alleged violations of the automatic stay
   by retaining control of two properties. After a status hearing on May 7, 2020 at
   which it was reported that Jordan had complied with the Enforce Stay Order by
   dismissing a state court complaint she had filed in violation of the automatic stay,
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the Court entered an order setting an evidentiary hearing on the portion of the
motion that requested sanctions for violation of the automatic stay. Because the
record reflected that Jordan had complied with the Enforce Stay Order, albeit late,
the Court did not issue an order directing Jordan to appear and show cause, and to
clarify the record, the Debtors’ request for such relief is denied as moot. 1
        Turning to the Debtors’ request for sanctions for Jordan’s alleged violation of
the automatic stay, the Court held the evidentiary hearing on June 9, 2020, at
which Lent Carr provided video testimony 2 and where the parties addressed the
propriety of sanctions for Jordan’s alleged violations of the automatic stay. Eric
Fabricius appeared on behalf of the Debtors, Benjamin Lovell appeared on behalf of
the chapter 13 trustee (the “Trustee”), and Jordan appeared pro se. 3
        In the Sanctions Motion, the Debtors allege Jordan violated the automatic
stay by retaining control and possession of two properties Jordan deeded to Lent
Carr prepetition. The Debtors allege Jordan has used one of those properties – 4160
Laurinburg Road, Raeford, NC (the “Laurinburg Property”) – as a personal
residence and has collected and withheld rent on the other property – 521 Gatlin
Farm Road, Raeford, NC (the “Gatlin Farm Property”). The Debtors request the
Court award appropriate damages and sanctions for the alleged violations of the
automatic stay by retaining control of these two properties. Specifically, the Debtors
seek compensatory damages in the form of lost rental income for the Laurinburg
Property and Jordan’s alleged seizure of rents from the Gatlin Farm Property. The
Debtors also seek compensation for the tax payments made on both properties,
emotional damages, due to stress and anxiety, and attorneys’ fees incurred in
redressing the sanctionable conduct. Though not expressly stated within the prayer


1
  The prayer for relief in the Sanctions Motions does not include a request for damages for Jordan’s alleged
contempt. Moreover, the Debtors’ underlying motion to enforce automatic stay, which the Court granted in the
Enforce Stay Order, did not seek any sanctions related to Jordan’s state court complaint (Doc. No. 91, 100).
2
  Due to the ongoing COVID-19 outbreak, the Bankruptcy Court for the Middle District of North Carolina issued a
standing order that all bankruptcy hearings are to be conducted telephonically until further order. See Amended
Standing Order re Court Operations Under the Exigent Circumstances Created by COVID-19 (effective Mar. 26,
2020).
3 At all times during this case, and despite the Court’s repeated recommendations, most recently at the June 9

hearing, the Creditor has not retained counsel and has instead represented her interests pro se.

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for relief, at the hearing the Debtors also requested an order directing Jordan to
vacate the properties. 4
         The relationship between Jordan and the Debtors is layered with animosity
and questionable conduct. Some of that history is detailed in previous orders issued
by this Court (Docket No. 96, 98, 115). The full contours of the circumstances under
which the Debtors acquired the properties at issue from Jordan have been slowly
revealed to the Court, in a piecemeal fashion, over the two-year course of this
bankruptcy case. The Debtors have been less than forthright about the seemingly
providential manner in which they acquired the properties, as well as Jordan’s
continued presence at the Laurinburg Property. 5
         To impose sanctions for a violation of the automatic stay under 11 U.S.C.
§ 362(k), the injured party must show that (1) the conduct constitutes a violation of
the automatic stay, (2) the creditor’s violation of the automatic stay was willful, and
(3) that the debtor was injured as a result of the violation. In re Franklin, 614 B.R.
534, 544 (Bankr. M.D.N.C. 2020). For the reasons discussed in detail below,
including the serious questions around Jordan’s transfer of the properties, the
procedural missteps of the Debtors in pursuing relief, and the lack of credible
evidence, the Court denied the Sanctions Motion in ruling from the bench at the
June 9, 2020 hearing. The Court enters this Order to memorialize the findings and
reasoning discussed in that oral ruling as to why the Debtors have not shown they
are entitled to damages for Jordan’s alleged actions in relation to either the
Laurinburg Property or the Gatlin Farm Property. For purposes of clarity, the
Court addresses the requested sanctions as to each of the two properties at issue.
         1. The Laurinburg Property
         The true ownership of the Laurinburg Property has been an issue of
contention between the Debtors and Jordan for the duration of this bankruptcy


4
  According to Federal Rule of Bankruptcy Procedure 7001, a proceeding to recover property other than a
proceeding to compel the debtor to deliver property to the trustee, is an adversary proceeding. A request for turnover
by oral motion is procedurally deficient, does not provide adequate notice, and must be denied.
5
  As the Court has previously noted, the Debtors did not file the Sanctions Motion until almost two years after the
petition date, despite Jordan’s occupancy of the property throughout that time period.

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case. On the Schedule A/B filed with their bankruptcy petition, the Debtors listed
an interest held by Lent Carr in the Laurinburg Property with the description “Fee
Simple subject to potential competing estate claims.” At the hearing, Carr described
that Jordan gifted him the Laurinburg Property prepetition, and he introduced a
copy of the quitclaim deed allegedly effectuating the transfer in evidence. In her
arguments at the hearing, Jordan described the Laurinburg Property as a
“homestead for our family” and asserted that it was deeded to John Roberson and
Katie Roberson “at this time and always has been.”
         The quitclaim deed submitted into evidence by Carr does not clarify the
ownership of the Laurinburg Property. The deed indicates that the grantor, Jordan,
acquired the property by instruments recorded in Book 317, Page 229; Book 256,
Page 119; and Book 256, Page 115, which are attached to the quitclaim deed. It is
not apparent from the face of the instruments recorded at Book 317, Page 229; Book
256, Page 119; and Book 256, Page 115 that Jordan had any interest in the
Laurinburg Property to transfer to Carr. Moreover, Debtors’ Exhibit 10, which is a
printed copy of a Hoke County real estate tax statement from October 5, 2018,
describes the “current owner” of 4160 Laurinburg as Katie Ann Roberson.
         The North Carolina state courts also questioned Carr’s claim to ownership of
the Laurinburg Property. The quitclaim deed is dated October 16, 2017 but was not
recorded until almost a year later, on October 5, 2018, and more than six months
after the bankruptcy petition was filed. 6 The Debtors commenced a summary
ejection action in Hoke County against Jordan on October 8, 2018, merely three
days after recording the quitclaim deed, and alleged past due rent in the amount of
$6,500.00. The Hoke County magistrate dismissed the complaint, after finding that
the case was a “land dispute and belongs in a higher court” and that a landlord-

6
  The Debtors’ delay in recording the quitclaim deeds for the Laurinburg Property and the Gatlin Farm Property is
remarkable considering North Carolina is a “pure race” jurisdiction, in which the first to record an interest in the
land holds an interest superior to all other purchases for value. See Henkel v. Triangle Homes, Inc., 790 S.E.2d 602,
604-5 (N.C. Ct. App. 2016) (citing N.C. Gen. Stat. § 47-18(a)). While not definitive in and of itself, the delay raises
additional questions about Jordan’s land transfers to Carr. See Pueblo of Santa Rosa v. Fall, 273 U.S. 315, 320
(1927) (finding, in evaluating a transfer of land from a seller with questionable authority to make the sale, and for
nominal consideration, that “the suspicious circumstance of [a] long unexplained delay in recording the deed”
further undercuts the validity of the transaction.)

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tenant relationship did not exist. 7 Carr appealed the magistrate’s ruling, and the
Hoke County District Court found that, while the parties were properly before the
court and the court had both personal and subject matter jurisdiction, Carr had
failed to prove his case by the greater weight of the evidence. The District Court
then dismissed Carr’s summary ejectment action with prejudice. While the Hoke
County courts acknowledged Carr may have “some other recourse,” the findings of
the magistrate and district courts indicate there are serious questions as to Carr’s
ownership interest in the Laurinburg Property.
        There is no dispute between the parties, however, that Jordan has been
residing at the Laurinburg Property. Jordan acknowledged that she made repairs to
the Laurinburg Property several years ago and has been residing at the property
since the repairs were completed. Jordan asserted, however, that she found the
Laurinburg Property in a severe state of disrepair when she was released from jail
in December 2017 and determined it to be uninhabitable until her repairs were
completed. Moreover, the Debtors never included any present or anticipated rental
income within their Schedule I, for any of their claimed properties, casting further
doubt on the Debtors’ expectation of deriving any rental income from the
Laurinburg Property.
        The inability of the Debtors to establish clear ownership of the Laurinburg
Property is a fatal blow to any assertions that Jordan violated the automatic stay by
exercising control over property of the estate. Despite knowing ownership of the
Laurinburg Property was in dispute, and in fact admitting as such on Schedule A/B,
the Debtors presented no evidence at the hearing to establish what interest, if any,
Jordan transferred to Carr via the quitclaim deed. 8 If Jordan did not convey any
interest in the Laurinburg Property to Lent Carr, then Carr does not own the

7
  In affirming the magistrate’s decision, the Hoke County District Court found “neither a written nor verbal lease
agreement between [Carr and Jordan] nor that any terms were established by their actions.”
8
  The quitclaim deed incorporates a document entitled Agreement and Perpetual Lease/Quitclaim Deed which
appears to provide Lent Carr with a leasehold on the Laurinburg Property, from October 16, 2017 “through all times
of perpetuity.” Peculiarly, the lease agreement also acknowledges and cross-references Jordan’s conveyance of the
Laurinburg Property to Carr through the quitclaim deed. A similar lease agreement was made between Carr and
Jordan regarding the Gatlin Farm Property. The purpose of this lease agreement, which was created
contemporaneously with the quitclaim deed, is unclear and not apparent from the document itself.

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Laurinburg Property and it was never part of the Debtors’ bankruptcy estate. For a
stay violation, “it must be established that plaintiff has the right to possession of
the subject property and/or that the subject property is property of the estate.” See
Speth v. 21st Mortg. Corp. (In re Nulik), Adv. No. 08-5257, 2010 WL 5114734, at *1
n. 8 (Bankr. D. Kan. Dec. 8, 2010); see also In re Flanagan, 415 B.R. 29 (D. Conn.
2009). Because the Debtors did not establish their right to possession, the Court is
unable to find Jordan violated the automatic stay by residing at the Laurinburg
Property. Therefore, the Court will not award damages under 11 U.S.C. § 362(k)
regarding Jordan’s use of the Laurinburg Property, including any asserted lost
rental income, stress and anxiety, 9 or legal costs.
         2. The Gatlin Farm Property
         The Debtors also assert Jordan violated the automatic stay by exercising
control over the Gatlin Farm Property, continuing to collect rent on the property,
and refusing to return the property to Lent Carr upon his demand for possession. At
the hearing, Jordan denied the Debtors’ allegations and described the Gatlin Farm
Property as an “unlivable” double-wide trailer that has been vacant since 2017, with
holes in the walls and in which the floor “is gone.” She also asserted that she had
not taken possession of the Gatlin Farm Property and “had no other dealings” with
it.
         As with the Laurinburg Property, the Debtors assert that Jordan gifted them
the Gatlin Farm Property. The Debtors submitted a quitclaim deed as evidence of
that transfer, which is similarly handwritten by Jordan. The quitclaim deed
indicates that Jordan acquired the property by an instrument recorded in Book



9
 Even if the Court had found a violation of the stay, the Debtors would not have met their burden of demonstrating
emotional distress damage. In the Sanctions Motion, the Debtors assert that Lent Carr suffered “stress and anxiety”
as a result of Jordan’s violations of the automatic stay. At the hearing, Carr alleged he suffers from anxiety disorder
and agoraphobia. While Debtors may recover emotional distress damages under 11 U.S.C. § 362, In re Franklin,
614 B.R. 534, 548 n. 21 (Bankr. M.D.N.C. 2020), a debtor claiming such damages must “(1) suffer significant
emotional distress, (2) clearly establish the significant emotional distress, and (3) demonstrate a causal connection
between that significant emotional distress and the violation of the automatic stay.” Lodge v. Kondaur Capital
Corp., 750 F.3d 1263, 1271 (11th Cir. 2014). Carr’s assertions of emotional distress, which he described at the
hearing, were unsupported by any medical documentation or substantiating evidence and, most importantly, were
not clearly connected to Jordan’s alleged violations of the stay.

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1062, Page 168, which shows Jordan was granted the property by Elsie Bowen and
Derrick Thompson on October 25, 2013.
      While the chain of title establishing the Debtors’ ownership of the Gatlin
Farm Property is on firmer ground than that of the Laurinburg Property, the
Debtors’ argument that Jordan violated the automatic stay suffers from other
critical defects. The automatic stay prohibits “any act … to exercise control over
property of the estate.” 11 U.S.C. § 362(a)(3). “Control, necessarily requires a
creditor to exercise some authority or influence over the property in derogation of
the estate,” and which is determined “upon the particular facts of the case.” In re
Garner, No 09-81998, 2010 WL 890406, at *3 (Bankr. M.D.N.C. Mar. 9, 2010).
      At the hearing, Lent Carr testified that he was “informed by neighbors” that
Jordan took control of the Gatlin Farm Property and “started to rent that property
out.” Despite his assertions that he had “been by [the Gatlin Farm Property]
numerous times and kn[ew] that there were tenants staying on the property,” Carr
did not testify about encountering or communicating with any tenant himself. Carr
did testify to receiving a citation from the Hoke County Sheriff for illegal burning of
household trash at the Gatlin Farm Property, upon which he learned the offending
party was “a Mr. Love, last name Love.” Carr implied through his testimony that
this individual was residing at the Gatlin Farm Property, but Carr was unable,
through further testimony or supporting documentation, to clearly identify Mr.
Love, establish the he was a tenant at the Gatlin Farm Property, or that he had
been paying rent to Jordan.
      The Debtors submitted two pieces of evidence, neither of which show Jordan
exercised any control over the Gatlin Farm Property or collected any rents from the
property. In fact, the Debtors provided no supporting evidence clearly showing “Mr.
Love” or any tenant had recently occupied the Gatlin Farm Property. Debtors’
Exhibit 6 contains a letter sent by Lent Carr, dated October 27, 2018, and
addressed to an unnamed “current tenant/or Alternative Recipient” at the Gatlin
Farm Property. The letter demonstrates the Debtors were unsure about the identity
or existence of a tenant at the Gatlin Farm Property. The Debtors also failed to

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show that the letter was responded to or received by anyone, tenant or otherwise.
The only other document provided by the Debtors, found at Exhibit 11, is the
citation issued by the Hoke County Sheriff for the burning of household trash. The
citation is undated, is addressed to Lent Carr as the owner of the Gatlin Farm
Property and does nothing to evidence the presence of a tenant or Jordan’s control
over the property.
      The Debtors did not demonstrate Jordan exercised control over, or collected
rents from, the Gatlin Farm Property. Besides Carr’s vague and unsupported
testimony regarding an alleged tenant he identifies only as “Mr. Love,” the Debtors
provided no evidence of any recent occupation of the Gatlin Farm Property, through,
for example, utility records, photographic evidence, or tenancy agreements. See, e.g.,
In re GGW Brands, LLC, No. 2:13-bk-15130, 2014 Bankr. LEXIS 3469, at **37, 152
(Bankr. C.D. Cal. Aug. 4, 2014) (finding the trustee presented clear and convincing
evidence the debtors occupied the premises through the introduction of surveillance
video evidence); Snavely v. Isserlis (In re Snavely), Adv. No. 09-1313, 2010 WL
6259761, at *5 (9th Cir. B.A.P. Apr. 21, 2010) (affirming bankruptcy court denial of
homestead exemption where the only evidence of residency was the debtor’s
unsupported assertions and where there was “no other evidence in the record to
support that contention”). Critically, the Debtors presented no evidence that any
tenant at the Gatlin Farm Property was paying rent or that Jordan was
intercepting these purported rent payments.
      Accordingly, the Court is unable to find Jordan violated the automatic stay
through exercising control over the Gatlin Farm Property and will not award any of
the requested damages under 11 U.S.C. § 362(k).
                                    Conclusion
      For the reasons set forth herein, and described on the record at the June 9,
2020 hearing, the Court finds the Debtors failed to establish that Janetta Jordan
violated the automatic stay with regard to the Laurinburg Property or the Gatlin
Farm Property. As such, the Court declines to award any damages requested by the
Debtors.

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      Accordingly, IT IS HEREBY ORDERED that the Debtors’ motion for
sanctions is denied with prejudice.
                                 END OF DOCUMENT




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                                  PARTIES TO BE SERVED

                                  Lent and Deltarina Carr
                                      18-80386 C-13




Lent Christopher Carr, II
Deltarina V. Carr
3300 Laurinburg Rd.
Raeford, NC 28376

Erich M. Fabricius
Fabricius & Fabricius, PLLC
P.O. Box 1230
Knightdale, NC 27545-1230

Richard Hutson, II
Chapter 13 Office
3518 Westgate Drive
Suite 400
Durham, NC 27707

Jannetta Jordan
4160 Laurinburg Rd.
Raeford, NC 28376-7250

William P. Miller
101 South Edgeworth St.
Greensboro, NC 27401
